                                                          UNITED STATES BANKRUPTCY COURT
                                                            EASTERN DISTRICT OF MICHIGAN

                                                                                               Case No.     18-51748
 In re:      Sean Nguyen
                                                                             ,                 Judge:       Thomas Tucker
                                      Debtor.
                                                                             /

                                    DEBTOR'S CHAPTER 13 CONFIRMATION HEARING CERTIFICATE
                                                      [To be completed fully]

            At the next confirmation hearing in this case, the debtor intends to: [Check ONE of the following]

            1. Request confirmation of the debtor's plan, because all timely objections of creditors and the trustee have been
            resolved. I have emailed to the trustee a proposed order confirming the plan, as required in paragraph 2 of the
            Chaper 13 Case Management Order.

            2. Request confirmation of the debtor's plan, even though all timely objections have not been resolved. I have
            emailed to the trustee a proposed order confirming the plan, as required in paragraph 2 of the Chapter 13 Case
            Management Order. The parties are at an impasse in attempting to resolve these objections despite all reasonable
            efforts. The following are: (a) the parties whose timely objections have not been resolved; (b) their unresolved
            objections; and (c) the legal and factual issues that must be resolved by the Court in connection with
            confirmation:

                         Trustee Objections:                1-8
                         Issues:                            1. Has been sent; 2. Increase offered in OCP; 3. DSO affidavit has been filed; 4.
                                                            DSO obligation has ended; 5. Income documentation provided; 6.
                                                            Self-Employment taxes are a listed expense on debtor's Schedule J; 7. Debtor
                                                            does not have a lease, he lives with his parents; 8. Language in OCP.

                         Creditor # 1:
                         Objections:
                         Issues:

                         Creditor # 2:
                         Objections:
                         Issues:

            3. Request an adjournment of the confirmation hearing to                                                , due to the following good
            cause: Debtor need additional time to address ongoing issues.

            4. Dismiss the case. [The Court will construe this as a motion by the debtor to dismiss the case under
            Fed.R.Bankr.P. 1017(f)(2), and the Court will enter an order of dismissal and the case will be removed from the
            docket, unless the case was previously converted from Chapter 7, 11, or 12 to Chapter 13. In that event, a separate
            motion to dismiss must be filed within 10 days.]

            5. Convert the case to chapter 7. [The debtor must promptly file a separate notice of conversion under
            Fed.R.Bankr.P. 1017(f)(3), and pay the filing fee for such notice. Such notice of conversion will cause the case to
            be converted without the entry of an order of conversion.]
                                                                                 /s/ William C. Babut
                                                                                          William C. Babut P41099
                                                                                        Debtor's Attorney




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